               UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    ASHEVILLE DIVISION
                   Case No. 1:15-cv-00109-MR

                                 )
SANDRA M. PETERS, on behalf of herself
                                 )
and all others similarly situated,
                                 )
                                 )         PLAINTIFF’S
Plaintiff,                       )         SUPPLEMENTAL REPLY
                                 )
v.                               )         BRIEF IN SUPPORT OF HER
                                 )         MOTION FOR CLASS
AETNA INC., AETNA LIFE INSURANCE )         CERTIFICATION
COMPANY, and OPTUMHEALTH CARE )
SOLUTIONS, INC.,                 )
                                 )
Defendants.                      )
                                 )




     Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 1 of 33
                                         TABLE OF CONTENTS

INTRODUCTION .....................................................................................................1

ARGUMENT .............................................................................................................3

   I.    THE FOURTH CIRCUIT ALREADY HELD THAT PLAINTIFF HAS
         ARTICLE III STANDING. .............................................................................3

         A. The Fourth Circuit Twice Rejected Defendants’ Argument That
            Recent Supreme Court Decisions Undermine Plaintiff’s Article III
            Standing. ...................................................................................................3

         B. Plaintiff Does Not Need To Show Direct Financial Injury To Seek
            Surcharge And Disgorgement On A Class-Wide Basis. ...........................8

   II. UNDER CLEAR AND BINDING FOURTH CIRCUIT AUTHORITY,
       THE REMEDIES THAT PLAINTIFF IS PURSUING DO NOT REQUIRE
       TRACING......................................................................................................11

         A. The Fourth Circuit Has Held That Equitable Tracing Is Not Required
            For Disgorgement And Surcharge Claims. ..............................................11

         B. Defendants Do Not Establish That Tracing Is Required for Forms Of
            Relief Expressly Allowed Under Section 502(a)(2) ................................14

         C. Even If This Court Were To Impose A Tracing Requirement, Plaintiff
            Can Satisfy It Through Class-Wide Proof................................................15

   III. THE PUTATIVE CLASSES EASILY MEET THE RULE 23
        REQUIREMENTS. .......................................................................................16

         A. The Fourth Circuit Already Held That There Are Common Questions. .16

         B. It Follows From The Fourth Circuit’s Opinion That Plaintiff Is a
            Typical And Adequate Class Representative. ..........................................18

         C. The Classes Should Be Certified Under Rule 23(b)(3). ...........................19

         D. The Classes Could Also Be Certified Under Rule 23(b)(1)(A). ..............21



                                                            i

          Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 2 of 33
   IV. THE FOURTH CIRCUIT’S DECISION CONFIRMS THAT CLASS
       CLAIMS AGAINST OPTUM SHOULD BE CERTIFIED. ........................21

         A. The Fourth Circuit Held That Optum Is A Party in Interest. ...................23

         B. The Fourth Circuit Identified Class-Wide Evidence Demonstrating
            That Optum Knowingly Participated In Prohibited Transactions. ...........23

         C. Class-Wide Proof Demonstrates Class Members’ Entitlement To
            Disgorgement From Optum......................................................................24

CONCLUSION ....................................................................................................... 25




                                                         ii
          Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 3 of 33
                                     TABLE OF AUTHORITIES


Cases

AirFacts, Inc. v. de Amezaga,
  909 F.3d 84 (4th Cir. 2018) ..................................................................................22

Allen v. GreatBanc Tr. Co.,
  835 F.3d 670 (7th Cir. 2016) ................................................................................25

Amazon.com, Inc. v. WDC Holdings LLC,
 No. 20-1743, 2021 WL 3878403 (4th Cir. Aug. 31, 2021)....................... 2, 11, 16

California v. Texas,
 141 S. Ct. 2104 (2021) .................................................................................. 1, 6, 7

Carpenters Pension and Annuity Plan of Phil. and Vicinity v. Grosso,
 No. 07-5013, 2009 WL 2431340 (E.D. Pa. Aug. 6, 2009) ..................................15

CIGNA Corp. v. Amara,
  563 U.S. 421 (2011) ...............................................................................................8

Donovan v. Bierwirth,
 754 F.2d 1049 (2d Cir. 1985) ...............................................................................17

FTC v. Bronson Partners, LLC,
 654 F.3d 359 (2d Cir. 2011) .......................................................................... 11, 15

FTC v. Vylah Tec LLC,
 328 F. Supp. 3d 1326 (M.D. Fla. 2018) ...............................................................11

Great-West Life & Annuity Insurance Co. v. Knudson,
 534 U.S. 204 (2002) .............................................................................................11

Gunnells v. Healthplan Servs., Inc.,
 348 F.3d 417 (4th Cir. 2003) ................................................................................10

Harris Tr. & Sav. Bank v. Salomon Smith Barney Inc.,
 530 U.S. 238 (2000) .............................................................................................23

In re Trans-Indus., Inc.,
  609 B.R. 608 (Bankr. E.D. Mich. 2019) ..............................................................15


                                                         iii
          Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 4 of 33
In re Unisys Corp. Retiree Med. Benefits ERISA Litig.,
  579 F.3d 220 (3d Cir. 2009) .................................................................................13

Knieriem v. Group Health Plan,
 434 F.3d 1058 (8th Cir. 2006) ..............................................................................13

LeBlanc v. Cahill,
  153 F.3d 134 (4th Cir. 1998) ................................................................................10

Loren v. Blue Cross & Blue Shield of Mich.,
  505 F.3d 598 (6th Cir. 2007) ................................................................................10

Mertens v. Hewitt Assocs.,
 508 U.S. 248 (1993) .............................................................................................10

Monsanto Co. v. Geertson Seed Farms,
 561 U.S. 139 (2010) .............................................................................................19

Pender v. Bank of Am. Corp.,
  736 F. App’x 359 (4th Cir. 2018);........................................................................10

Pender v. Bank of Am. Corp.,
  788 F.3d 354 (4th Cir. 2015) ......................................................................... 10, 12

Perelman v. Perelman,
  793 F.3d 368 (3d Cir. 2015) .................................................................................13

Peters v. Aetna Inc.,
  2 F.4th 199 (4th Cir. 2021) ........................................................................... passim

Resnick v. Schwartz,
  No. 17 C 04944, 2018 WL 4191525 (N.D. Ill. Sept. 3, 2019) .............................14

SEC v. Banner Fund Int’l,
  211 F.3d 602 (D.C. Cir. 2000) .............................................................................11

Staudner v. Robinson Aviation, Inc.,
  910 F.3d 141 (4th Cir. 2018) ................................................................................25

Sweda v. Univ. Pa.,
  923 F.3d 320 (3d Cir. 2019) .................................................................................23




                                                        iv
          Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 5 of 33
Teets v. Great-West Life & Annuity Ins. Co.,
  921 F.3d 1200 (10th Cir. 2019) ............................................................................12

Thole v. U.S. Bank N.A.,
  140 S. Ct. 1615 (2020) .......................................................................................1, 3

Thorn v. Jefferson-Pilot Life Ins. Co.,
  445 F.3d 311 (4th Cir. 2006) ................................................................................12

TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021) ...................................... 1, 5, 6

Parke v. First Reliance Std. Life Ins. Co.,
  368 F.3d 999 (8th Cir. 2004) ................................................................................13

Statutes

29 U.S.C. § 1109 ......................................................................................................15

29 U.S.C. § 1109(a) .................................................................................................14

29 U.S.C. § 1132(a)(2) .............................................................................................15

29 U.S.C. § 1132(a)(3) ...............................................................................................1

Other Authorities

1 D. Dobbs, Law of Remedies § 4.3(5) (2d ed.1993) ..............................................12

Rules

North Carolina Rules of Professional Conduct, Rule 3.3 ..........................................2




                                                           v
           Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 6 of 33
                                 INTRODUCTION

      The Fourth Circuit unequivocally held that Plaintiff has Article III standing to

secure a surcharge or disgorgement remedy because she was unlawfully overcharged

on at least one benefit claim. It is undisputed that all putative class members were

similarly overcharged on at least one benefit claim. Applying the evidentiary

showing that Plaintiff made in her original class certification submissions to the legal

conclusions of the Court of Appeals, Plaintiff has easily satisfied the standards for

class certification under Rule 23. The Court should certify the two putative classes.

       Undeterred by the Fourth Circuit’s rejection of the arguments on which

Defendants opposed class certification, Defendants’ supplemental opposition

(“Supp. Opp’n”) asks the Court to ignore the Fourth Circuit’s findings and

conclusions, which are law of the case. First, Defendants pretend that the Fourth

Circuit failed to consider recent Supreme Court cases on Article III standing—Thole

v. U.S. Bank N.A., 140 S. Ct. 1615 (2020), TransUnion LLC v. Ramirez, 141 S. Ct.

2190 (2021), and California v. Texas, 141 S. Ct. 2104 (2021). In fact, the Fourth

Circuit considered each of those decisions and rejected Defendants’ strained reading

of them.

      Second, Defendants claim that the equitable remedies that Plaintiff seeks

under 29 U.S.C. § 1132(a)(3) (surcharge, disgorgement) require “tracing,” but the

Fourth Circuit has rejected this argument as well. Defendants rely upon inapposite




        Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 7 of 33
authority concerning tracing in the context of “equitable restitution” (a class remedy

Plaintiff no longer seeks under § 1132(a)(3)), not cases addressing surcharge or

disgorgement, and they glaringly omit any discussion of a recent Fourth Circuit

decision that explicitly rejects Defendants’ position: “[D]isgorgement does not

require tracing of specific funds in a defendant’s possession.” See Amazon.com,

Inc. v. WDC Holdings LLC, No. 20-1743, 2021 WL 3878403, at *6 (4th Cir. Aug.

31, 2021) (emphasis added). Defendants’ risky failure to cite this dispositive ruling

is, at best, disappointing. See North Carolina Rules of Professional Conduct, Rule

3.3 (“A lawyer shall not knowingly . . . fail to disclose to the tribunal legal authority

in the controlling jurisdiction known to the lawyer to be directly adverse to the

position of the client and not disclosed by opposing counsel.”).

      Third, Defendants otherwise mischaracterize, at best, the Fourth Circuit’s

opinion as it bears on class certification. Most egregiously, they challenge

commonality without even mentioning the Fourth Circuit’s holding that Plaintiff

satisfied Rule 23(a)’s commonality requirement. See Peters v. Aetna Inc., 2 F.4th

199, 243 (4th Cir. 2021) (listing three common questions that satisfy commonality).

They also ignore the Fourth Circuit’s holding that plan terms such as “Network

Provider” or “In-Network Provider” cannot reasonably be interpreted to mean

Optum, id. at 233–34, and that administrative service contracts are not plan terms,

id. at 233. Finally, they ignore the Fourth Circuit’s holding that Optum could be



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        Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 8 of 33
liable as a party in interest based on common evidence of its knowledge of

Defendants’ class-wide practice of burying Optum’s administrative fee in medical

claims. See id. at 240.

        Defendants’ recycled, losing arguments should be rejected. The classes should

be certified.

                                   ARGUMENT

   I.      THE FOURTH CIRCUIT ALREADY HELD THAT PLAINTIFF
           HAS ARTICLE III STANDING.
           A. The Fourth Circuit Twice Rejected Defendants’ Argument That
              Recent Supreme Court Decisions Undermine Plaintiff’s Article III
              Standing.

        Defendants’ primary argument—that Plaintiff lacks Article III standing to

seek surcharge or disgorgement in light of recent Supreme Court cases that the

Fourth Circuit supposedly “did not address”—is pure fiction; Supp. Opp’n at 5.

Defendants brought these very cases to the Fourth Circuit’s attention. Defendants

first did so in a notice of supplemental authority concerning Thole. UCCA4 Appeal

19-2085, Dkt. No. 55-1. Then, in their petition for panel rehearing or rehearing en

banc, UCCA4 Appeal 19-2085, Dkt. No. 94, Defendants discussed Thole and the

other two cases. The Fourth Circuit denied their petition out of hand. Defendants

now seek a third bite at the same apple. Their argument is just as weak as it was on

the first two tries and should be disregarded.




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         Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 9 of 33
      For context, as a basis for their attack on the Fourth Circuit’s opinion,

Defendants misconstrue the Fourth Circuit as having found that Plaintiff has Article

III standing because “standing to sue under ERISA does not require an injury other

than an alleged statutory violation.” Supp. Opp’n at 5. To the contrary, the Fourth

Circuit rightly held that for purposes of Article III standing, an overcharge on a

single benefit claim in violation of plan terms is a concrete injury, not simply a

statutory violation. As such, “the financial loss analysis must be conducted at the

individual claims level rather than at the aggregate claims level.” Peters, 2 F.4th at

218. The Fourth Circuit’s view of Article III injury is entirely consistent with the

Article III decisions on which Defendants rely.

      In Thole, for example, the Supreme Court found that the plaintiffs had not

suffered a cognizable injury because they had not alleged that any benefit they

sought had been wrongfully adjudicated. As members of a defined-benefit pension

plan, the plaintiffs’ benefits were fixed by the plan’s written terms, and they received

exactly what the plan entitled them to receive every month. The payments “d[id] not

fluctuate with the value of the plan or because of the plan fiduciaries’ good or bad

investment decisions.” Thole, 140 S. Ct. at 1618. The Thole plaintiffs did not allege

that any of their past benefit claims had been wrongfully calculated in contravention

of plan terms. Because they could not allege that the outcome of the case would have

any impact on them whatsoever, they had no injury.



                                           4
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 10 of 33
      Here, in contrast, it is undisputed that every class member was overcharged

on at least one benefit claim and that the challenged scheme caused those

overcharges for every member of the class. See Peters, 2 F.4th at 243 (“the

underlying harm derives from the same common contention—that Appellees’ fee-

shifting scheme breached the terms of the applicable Plan and constituted a breach

of fiduciary duty”). Indeed, Plaintiff has proven precisely what the Thole plaintiffs

could not—that the misconduct at issue led to an overcharge on at least one benefit

claim that harmed her, just as it did for all class members.

      In TransUnion, the Supreme Court considered whether two groups of class

members had standing to challenge TransUnion’s failure to follow reasonable

procedures in violation of the Fair Credit Reporting Act. TransUnion flagged certain

individuals as potential matches for names of terrorists on the U.S. Treasury

Department’s Office of Foreign Assets Control’s list of “specially designated

nationals” (the “OFAC list”) without taking any further steps to assess whether the

individuals were actually one of the names on the OFAC list. For the group of class

members for whom TransUnion sent an alert to a third party that the individual was

a potential match, the Supreme Court had “no trouble” concluding that they had been

injured, even without any evidence that the class member had been denied credit or

suffered any monetary harm related to the alert. See TransUnion, 141 S. Ct. at 2209.

The concrete injury was the fact that the third party now had the information, and



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       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 11 of 33
this was precisely the type of harm that Congress intended to stop by requiring

adequate procedures. For the other group of class members whose information

simply sat on a TransUnion data server, never seeing the light of day, the Supreme

Court found they had not been injured. See id. at 2212–13.

       The putative classes in this case are like those for whom the TransUnion Court

had “no trouble” finding Article III standing. All class members in this case were

overcharged on benefit claims in violation of their plan terms, a harmful action that

Congress plainly intended to curtail through ERISA’s broad enforcement

mechanisms. It is of no moment whether class members also suffered financial

injury in the aggregate. The TransUnion Court’s holding that the defendant’s

disclosure of the “potential match” information alone caused “a concrete harm that

qualifies as an injury in fact”—without any showing of any additional adverse event

(e.g., being refused credit, suffering monetary harm) that resulted from that

disclosure, see id. at 2209—is entirely consistent with the Fourth Circuit’s decision

in this case.

       In California, the Supreme Court reiterated the unremarkable proposition that

the redressability requirement for Article III standing requires a court to consider the

relationship between the injury suffered and the requested relief. 141 S. Ct. at 2115.

That is precisely what the Fourth Circuit did. Defendants refer to the Fourth Circuit’s

statement that “these inquiries remain separate and distinct,” but the Fourth Circuit



                                           6
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 12 of 33
was making an entirely different point: that the question of whether Plaintiff has

standing is separate from the question of whether she can prevail on the merits.

Peters, 2 F.4th at 217. In California, the plaintiffs sought declaratory relief that the

minimum essential coverage provision of the Affordable Care Act was

unconstitutional because it set the penalty amount at zero dollars. The Supreme

Court found that, in the absence of anything else, the plaintiffs lacked standing to

sue because the declaration the plaintiffs sought would not impact them and would

amount to nothing more than an advisory opinion. California, 141 S. Ct. at 2116.

      Here, the opposite is true. The Fourth Circuit carefully examined each remedy

potentially available to Plaintiff—surcharge, disgorgement, restitution, and

injunctive relief—with an eye towards how each category of equitable relief would

(or would not) redress Plaintiff’s injury. See Peters, 2 F.4th at 217–21. With respect

to the restitution remedy, which focuses on making a plaintiff whole, the Fourth

Circuit found that personal financial harm in the aggregate was required. Id. at 221.

But since surcharge and disgorgement focus on preventing a defendant’s unjust

enrichment, the Fourth Circuit explicitly found that those remedies did not require

this type of analysis. All that is required to establish standing is proof that Defendants

were unjustly enriched on discrete benefit claims. That evidence is undisputed.

      In sum, Defendants’ brazen request that this Court ignore the Fourth Circuit’s

view of Article III standing—a request based on the false premise that the Fourth



                                            7
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 13 of 33
Circuit did not consider recent Supreme Court jurisprudence, and based on their own

misapplication of those cases—should be rejected.

          B. Plaintiff Does Not Need To Show Direct Financial Injury To Seek
             Surcharge And Disgorgement On A Class-Wide Basis.

      Defendants next try to undercut the Fourth Circuit’s view of injury by insisting

that Plaintiff must, but cannot, show a “direct financial injury” to bring her claims

for equitable relief. But the Fourth Circuit held that Plaintiff suffered a legally

cognizable injury-in-fact to establish Article III standing “even without a personal

financial injury.” Peters, 2 F.4th at 218–21.1 Accordingly, Defendants’ argument—

that Plaintiff cannot represent a class of persons who suffered the same injury she

did because she suffered no “direct financial injury,” Supp. Opp’n at 9 (emphasis

added)—fails from the outset.2

      Moreover, in asserting that “surcharge and disgorgement are forms of

equitable restitution,” see Supp. Opp’n at 10, Defendants ask this Court to ignore the




1
  In any event, Plaintiff can show a direct financial injury because the Fourth Circuit
instructed that for standing to seek surcharge or disgorgement, injury is determined
on a claim-by-claim basis, not in the aggregate. Peters, 2 F.4th at 219.
2
  The Court must reject Defendants’ tired claim that Plaintiff impermissibly seeks
“money damages” for Defendants’ fiduciary breaches. Supp. Opp’n at 10, 17–18.
That claim is foreclosed by the Fourth Circuit’s decision. Plaintiff seeks precisely
the forms of § 1132(a)(3) relief that the Fourth Circuit confirmed are available to her
in this case. See Peters, 2 F.4th at 244. The Supreme Court and the Fourth Circuit
have unequivocally held that none of these equitable remedies are “money
damages.” Id. at 216–17; CIGNA Corp. v. Amara, 563 U.S. 421, 439 (2011).


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       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 14 of 33
careful distinctions that the Fourth Circuit drew between the different forms of

equitable relief that Plaintiff seeks, and to impose a “financial injury” requirement

on surcharge and disgorgement that does not exist. Peters, 2 F.4th at 216–17

(describing the particular features of equitable restitution, surcharge, disgorgement,

and injunctive relief); id. at 221 (emphasizing that unlike restitution, “Peters’ claims

based on surcharge, disgorgement, and declaratory and injunctive relief . . . do not

require a showing of personal financial harm”).3

      Defendants are similarly misleading when they contend that “[e]ven Peters

argues that the Court must determine the ‘benefit accrued [by Defendants]’ for her

claims.” See Supp. Opp’n at 10. By tacking on the phrase “for her claims,”

Defendants turn the Fourth Circuit’s conclusion on its head. The Fourth Circuit’s

point was exactly the opposite: “[A] claim for surcharge under an unjust enrichment

theory requires no showing of financial injury, but rather a benefit accrued by one

or both of the Appellees, which Peters sufficiently demonstrates based on her claim

that Aetna bypassed its obligation to pay Optum’s administrative fee.” Peters, 2

F.4th at 220. The Fourth Circuit held the same as to disgorgement. Id. (“[R]equiring

a financial loss for disgorgement claims would effectively ensure that wrongdoers

could profit from their unlawful acts as long as the wronged party suffers no financial


3
 The Fourth Circuit also held that Plaintiff can pursue these remedies on behalf of
her Plan, thus Defendants’ arguments fail as to the plan class for the same reasons.
Peters, 2 F.4th at 221.

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       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 15 of 33
loss.”) (quoting Pender v. Bank of Am. Corp., 788 F.3d 354, 366 (4th Cir. 2015)).

And the Fourth Circuit explicitly rejected Defendants’ contention that Plaintiff must

have suffered an individualized injury to maintain a claim for relief under 29 U.S.C.

§ 1132(a)(3) for a violation of ERISA fiduciary duties. Id. at 220–21 (citing Loren

v. Blue Cross & Blue Shield of Mich., 505 F.3d 598, 610 (6th Cir. 2007)). In any

event, even if Defendants could successfully raise individualized questions as to the

ultimate award of damages or equitable relief under ERISA, “the need for

individualized proof of damages alone will not defeat class certification.” Gunnells

v. Healthplan Servs., Inc., 348 F.3d 417, 429 (4th Cir. 2003).

      As the Fourth Circuit—and the cases that it cited—make clear, the equitable

remedies that Plaintiff seeks are designed to prevent fiduciaries like Defendants from

benefitting from their fiduciary breaches. The Fourth Circuit case relied upon by

Defendants reaffirmed that “even if the participants suffered no monetary harm from

the violation,” ERISA does not allow a plan fiduciary to wrongfully use participants’

funds for the fiduciary’s benefit, and the fiduciary “must disgorge its ill-gotten

benefit to plan participants.” Pender v. Bank of Am. Corp., 736 F. App’x 359, 372

(4th Cir. 2018); see also Mertens v. Hewitt Assocs., 508 U.S. 248, 262 (1993)

(fiduciaries must disgorge plan assets obtained through prohibited transactions under

29 U.S.C. § 1106); see also LeBlanc v. Cahill, 153 F.3d 134, 153 (4th Cir. 1998)

(same). Here, even if the Fourth Circuit had not already held that Defendants



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       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 16 of 33
benefitted by passing on Optum’s administrative fee to Aetna-administered plans

and the beneficiaries of those plans, it is obviously a common question.

   II.      UNDER CLEAR AND BINDING FOURTH CIRCUIT
            AUTHORITY, THE REMEDIES THAT PLAINTIFF IS
            PURSUING DO NOT REQUIRE TRACING.

         In direct contravention of the Fourth Circuit’s opinion, Defendants also argue

that the surcharge and disgorgement remedies require tracing, and that Plaintiff

cannot do so. Supp. Opp’n at 16–18. However, Defendants completely misstate

Fourth Circuit law and are wrong on the facts.

            A. The Fourth Circuit Has Held That Equitable Tracing Is Not
               Required For Disgorgement And Surcharge Claims.

         Defendants’ claim that disgorgement and surcharge require tracing is flatly

contradicted by controlling Fourth Circuit authority. Just six weeks ago in

Amazon.com, the Court of Appeals held that “disgorgement does not require tracing

of specific funds in a defendant’s possession.” 2021 WL 3878403, at *6 (emphasis

added) (citing FTC v. Bronson Partners, LLC, 654 F.3d 359, 374 (2d Cir. 2011);

SEC v. Banner Fund Int’l, 211 F.3d 602, 617 (D.C. Cir. 2000); FTC v. Vylah Tec

LLC, 328 F. Supp. 3d 1326, 1331 (M.D. Fla. 2018)).

         Defendants do not cite Amazon.com, which forecloses their argument.

Unsurprisingly, none of the cases they rely upon is contrary to that decision. Great-

West Life & Annuity Insurance Co. v. Knudson concerned equitable restitution, not

claims seeking remedies under § 1132(a)(2) or equitable remedies such as surcharge


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         Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 17 of 33
or unjust enrichment. 534 U.S. 204 (2002).4 Indeed, in Knudson the Supreme Court

confirmed that a plaintiff can recover profits produced by the defendant’s use of his

property, even if he cannot identify a particular res containing the profits sought

to be recovered. Id. at 214 n. 2 (citing 1 Dobbs § 4.3(1), at 588, and § 4.3(5), at 608).

As discussed supra, Section I.B, the Fourth Circuit carefully distinguished between

these different equitable remedies in the case at bar and held that Plaintiff was

entitled to at least two of them—surcharge and unjust enrichment.

      Defendants wholly mischaracterize the Fourth Circuit’s statement in Pender

that an accounting for profits “requires the disgorgement of ‘profits produced by

property which in equity and good conscience belonged to the plaintiff.’” 788 F.3d

at 364 (emphasis added) (quoting 1 D. Dobbs, Law of Remedies § 4.3(5), at 608 (2d

ed.1993)). By omitting the phrase “produced by property,” Defendants again change

the meaning of the Fourth Circuit’s statement, which is that this equitable remedy

does not require tracing.

      Defendants also rely on out-of-Circuit, inapposite cases to try to convince this

Court to reject the binding precedents of the Fourth Circuit. In Teets v. Great-West

Life & Annuity Ins. Co., for example, the Tenth Circuit agreed that disgorgement is

available under § 1132(a)(3) when a plaintiff identifies “property or money wrongly

4
 Defendants’ halfhearted citation to Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d
311 (4th Cir. 2006), see Supp. Opp’n at 16, is equally unavailing as that case also
concerned restitution, not disgorgement or surcharge.


                                           12
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 18 of 33
held” by a fiduciary that was used to generate profits for the fiduciary. 921 F.3d

1200, 1226 (10th Cir. 2019) (quoting In re Unisys Corp. Retiree Med. Benefits

ERISA Litig., 579 F.3d 220, 238 (3d Cir. 2009)). By showing that Aetna wrongly

caused her and her plan to pay Optum’s administrative fee, thereby increasing

Aetna’s profits by the amount that Aetna should have paid but did not, Plaintiff has

shown what Mr. Teets could not. See id. at 1229–30. In Knieriem v. Group Health

Plan, the plaintiff did not dispute that he sought “money damages,” unlike here,

where Plaintiff seeks equitable relief. 434 F.3d 1058, 1060 (8th Cir. 2006).

Defendants do not tell the Court that the language they cite from Knieriem actually

came from an earlier Eighth Circuit decision which affirmed that “it is not necessary

for the plaintiff to identify any particular res or fund of money holding the profits”

in order to obtain disgorgement. See Parke v. First Reliance Std. Life Ins. Co., 368

F.3d 999, 1008 (8th Cir. 2004) (emphasis added) (cited in Knieriem, 434 F.3d at

1063). Finally, Defendants’ reliance on Perelman v. Perelman, 793 F.3d 368 (3d

Cir. 2015) is misplaced because that case concerned a plaintiff’s standing under a

defined benefit plan—which is very different from the health plans at issue here for

the reasons discussed above in reference to Thole. See supra Section I.A.5

5
 Defendants press that Plaintiff must show her “individual right to the defendant’s
profit,” relying on the inapposite holding in Perelman. Supp. Opp’n at 16. But the
Fourth Circuit resolved that issue in Plaintiff’s favor, finding that Plaintiff did
demonstrate that Aetna benefited from deceptively shifting the payment of Optum’s
administrative fee to Plaintiff and her plan. Peters, 2 F.4th at 220.


                                         13
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 19 of 33
          B. Defendants Do Not Establish That Tracing Is Required For Forms
             Of Relief Expressly Allowed Under Section 502(a)(2).

      Even assuming that tracing might otherwise apply to equitable remedies

Plaintiff may pursue under 29 U.S.C. § 1132(a)(3), Defendants do not even argue,

let alone demonstrate, that tracing applies to the remedies expressly provided under

§ 1132(a)(2) to redress a fiduciary breach. Section 1132(a)(2) provides that a

breaching fiduciary “shall be personally liable to make good to such plan any losses

to the plan resulting from each such breach, and to restore to such plan any profits

of such fiduciary which have been made through use of assets of the plan by the

fiduciary.” 29 U.S.C. § 1109(a). Section 1109(a) also subjects the wayward fiduciary

“to such other… remedial relief as the court may deem appropriate.” Id. Given that

the tracing requirement flows solely from the fact that the available relief under

§1132(a)(3) is equitable, not legal, it is inapplicable to relief under § 1109(a), which

makes a breaching fiduciary “personally liable” for losses caused to an ERISA plan.

None of the explicitly described remedies under § 1109(a)—restoring losses to the

plan, disgorgement of profits earned with plan assets, or other appropriate

“remedial” (as opposed to equitable) relief—requires tracing. See Resnick v.

Schwartz, No. 17 C 04944, 2018 WL 4191525, at *5 and n.9 (N.D. Ill. Sept. 3, 2019)

(while tracing “to an identifiable fund” may be required to recover against a non-




                                          14
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 20 of 33
fiduciary under § 1132(a)(3), a fiduciary is “personally liable” to the plan for losses

caused by fiduciary breaches under § 1109).6

          C. Even If This Court Were To Impose A Tracing Requirement,
             Plaintiff Can Satisfy It Through Class-Wide Proof.

      Even if disgorgement did require tracing, Plaintiff can satisfy that requirement

on a class-wide basis. It is undisputed that Plaintiff can show, based on common

evidence, that Aetna paid the Optum administrative fee (which it collected from

plans and participants, as reflected in the Explanations of Benefits (“EOBs”)) to

Optum. Moreover, Plaintiff can establish through common evidence the “particular

funds” in Optum’s possession that belong in good conscience to putative class

members or their plans: specifically, the “slush” account in which Optum kept the

administrative fee payments it received. Dkt. No.199-17, Eichten Tr. 210:3–211:25.

Even if Optum commingled this money, “as long as the amount in the account

exceeds the amount of misappropriated funds that were deposited there, all the

plaintiffs’ money is still in the account.” See Bronson Partners, 654 F.3d at 373 n.8.

Further, it is irrelevant that the payments into Optum’s “slush” account came from


6
 See also e.g., Carpenters Pension and Annuity Plan of Phil. and Vicinity v. Grosso,
No. 07-5013, 2009 WL 2431340, at *6 (E.D. Pa. Aug. 6, 2009) (“Lying and
misappropriating plan assets for one’s own use breaches a fiduciary duty. . . .
Accordingly, [the breaching fiduciary] is personally liable to the Pension Plan for
the payments he received as a result of his deception and the earnings on those
payments.”) (citing 29 U.S.C. §§ 1109, 1132(a)(2)); In re Trans-Indus., Inc., 609
B.R. 608, 642 (Bankr. E.D. Mich. 2019) (characterizing relief under 29 U.S.C. §
1132(a)(2) as “damages” rather than equitable relief).


                                          15
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 21 of 33
Aetna, rather than directly from the plans, because Aetna acted with the authority to

issue the checks. Dkt. No. 199-20, Aetna 30(b)(6) Tr. 117:7–23. Finally, it is

undisputed that Aetna transferred administrative fee payments to Optum, and Optum

does not dispute that the funds are in its bank account. Indeed, Defendants’ request

for an equitable tracing requirement (notwithstanding the Fourth Circuit’s decisions

in Amazon.com and this case) alone justifies keeping Optum in the case as a

defendant.

   III.     THE PUTATIVE CLASSES EASILY MEET THE RULE 23
            REQUIREMENTS.

            A. The Fourth Circuit Already Held That There Are Common
               Questions.

      In her original class certification briefs and opening supplemental brief,

Plaintiff identified multiple questions that satisfy the commonality requirement of

Rule 23(a)(2). The Fourth Circuit agreed, finding that “there are common issues of

law and fact, including, for instance, whether Aetna was a fiduciary; whether it

breached its duties to plans and plan participants by directing Optum to bury its

administrative fee in the claims process; and whether its breach amounted to a harm

as to the particular plan and plan participants.” Peters, 2 F.4th at 243 (emphasis

added). That is the law of the case.

      Nonetheless, Defendants labor to undo the Fourth Circuit’s finding. They first

claim that purported variations in plan language, as well as in Aetna’s contracts,



                                         16
          Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 22 of 33
communications, and course of dealing with each plan sponsor, defy commonality.

The Fourth Circuit also rejected both of these arguments. Defendants’ argument that

the plan language purportedly differs for terms such as “Network Provider” and “In-

Network Provider,” Supp. Opp’n at 14 n.8, is foreclosed by the Fourth Circuit’s

emphatic holding that it is unreasonable to interpret any plan language’s definition

of “provider” to mean an entity like Optum. Peters, 2 F.4th at 212, 233–34.7 Put

simply, and as demonstrated in Plaintiff’s prior briefs, see Dkt. Nos. 146, 179 & 256,

any differences in plan language that Defendants cite to are immaterial. Second,

Defendants assert that differences in the administrative service contracts undermine

commonality, but again, the Fourth Circuit already found unambiguously that it is

the SPD, not the MSA, that must be used to interpret plan terms. Peters, 2 F.4th at

233; see also id. at 229 (stating that “the lodestar to determining fiduciary or party

in interest liability are the terms of the Plan”) (emphasis added).

      Defendants next contend that Donovan v. Bierwirth, 754 F.2d 1049 (2d Cir.

1985), requires the Court to apply an individualized analysis for each class member

to determine whether Aetna was unjustly enriched. Again, this argument ignores the

Fourth Circuit’s decision, which clearly stated that a Donovan analysis must only be

conducted for a restitution claim, not a claim for disgorgement or surcharge. See

7
 This Court has already found that “[t]here does not appear to be any meaningful
variation of these terms among the plans,” see Sept. 6, 2018 Order at 2, Dkt. No.
156, another critical judicial finding that Defendants conveniently fail to address.


                                         17
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 23 of 33
Peters, 2 F.4th at 244 (“claims for surcharge, disgorgement, and declaratory and

injunctive relief . . . do not require a showing of direct financial injury”).8

          B. It Follows From The Fourth Circuit’s Opinion That Plaintiff Is A
             Typical And Adequate Class Representative.

      For the reasons discussed in Sections I and II, Defendants’ argument that

Plaintiff’s claims are atypical and that she is an inadequate class representative

because she was not injured by the challenged conduct, is not personally entitled to

disgorgement or surcharge, and cannot satisfy the tracing requirement, fail for

numerous reasons. Moreover, Plaintiff has no conflict with the class with respect to

the requested relief. Indeed, the focus of the requested surcharge or disgorgement

remedy is Defendants’ ill-gotten gains, rendering it impossible that any class

member would be worse off if the Court orders this remedy. See supra Section I.B.

      Defendants also argue that Plaintiff is atypical because, as a former plan

member, she lacks Article III standing to seek prospective declaratory or injunctive

relief. Supp. Opp’n at 4. They are wrong about this as well. First, Defendants

calculated Plaintiff’s financial responsibility for deductible claims using Optum’s

rate and told Plaintiff in EOBs that she “owed” those charges. Dkt No. 233-17

(March 20, 2014 EOB for a February 19, 2014 service using Optum’s rate, rather



8
  As discussed in Section II, Defendants’ argument that a “tracing” requirement for
disgorgement and surcharge remedies defeats commonality is directly contrary to
recent Fourth Circuit jurisprudence.

                                           18
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 24 of 33
than provider’s rate, for deductible claim). However, Defendants never collected this

money from her, and never told her that these statements were false or that she was

not financially responsible for the charges.9 As such, there is a risk of future harm if

Defendants ever attempt to collect on these deductible claims. See Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 153–55 (2010) (finding that the plaintiffs

established standing to seek injunctive relief where they demonstrated a substantial

risk of future harm). Plaintiff is entitled to an injunction to prevent this action, along

with all the other class members who face the identical threat of future harm. Second,

Defendants also ignore injury to the Mars Plan, which is still being harmed by the

challenged practices. Since Plaintiff has standing to pursue her claims, as detailed

above, she may also seek appropriate relief on behalf of the plan under §1132(a)(2),

as the Fourth Circuit held.10

          C. The Classes Should Be Certified Under Rule 23(b)(3).

      In light of the Fourth Circuit’s decision, Plaintiff’s showing in her original

class certification papers easily satisfies the requirements of Rule 23(b)(3).




9
  Defendants coined the term “deductible credit” in this litigation and have argued
in legal briefs submitted by their outside counsel that they do not intend to collect
these “deductible credits,” but absent an injunction enforcing such promise,
Defendants could issue a recoupment demand to Plaintiff for these uncollected
charges at any time.
10
  It is undisputed that the putative classes meet the numerosity requirement of Rule
23(a)(1).


                                           19
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 25 of 33
Defendants do not dispute that Plaintiff has satisfied the superiority requirement, and

challenge only Rule 23(b)(3)’s predominance requirement on the grounds that the

Fourth Circuit “spent many pages analyzing the Mars Plan’s language” and

“analyzing Peter’s individual claims history,” which it would supposedly have to do

for each class member. Supp. Opp’n at 19, 20. Not true. Defendants again

mischaracterize the Fourth Circuit’s analysis which rejected Defendants’ position.

      First, as there is no material variation among plan terms, see supra Section

III.A (and prior briefing), the Fourth Circuit’s analysis of the Mars Plan’s material

language applies to all plans in the class. Second, there is common evidence that

every class member had at least one claim that was subjected to Defendants’

overcharge scheme, and the Fourth Circuit held that is all that is required to pursue

surcharge or disgorgement, without any need for an analysis of individual claims

history in the aggregate. See Peters, 2 F.4th at 244. And the issues that the Fourth

Circuit found common to the putative classes, including “whether [Aetna] breached

its duties to plans and plan participants by directing Optum to bury its administrative

fee in the claims process; and whether its breach amounted to a harm as to the

particular plan and plan participants,” id. at 243, predominate because they are issues

far more central to resolution of the case than any individual issues. Finally, as there

is no tracing requirement for a disgorgement remedy, there is no individualized

inquiry as to the flow of any assets. See supra Section II.



                                          20
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 26 of 33
           D. The Classes Could Also Be Certified Under Rule 23(b)(1)(A).

      Certification under Rule 23(b)(1)(A) is appropriate where individual actions

would create a risk of inconsistent or varying adjudications that would establish

incompatible standards of conduct. In response to Plaintiff’s argument that it would

be untenable for some courts to allow Defendants to pass on Optum’s administrative

fees to some plans and insureds, but not others, Defendants argue that this would be

just fine. Supp. Opp’n at 22–23. This is nonsense.

      First, as the Fourth Circuit found, it is unreasonable to read the Mars Plan

language to mean that Optum is a “provider.” Second, as this Court found and

Plaintiff has demonstrated, the relevant language in the Mars Plan is materially

indistinguishable from the language in all other class members’ plans. See Dkt. Nos.

146-13, 156. Third, it is undisputed that Defendants imposed the same fee-shifting

scheme on all class members. These facts easily demonstrate that there is a “risk of

inconsistent or varying adjudications that would establish incompatible standards of

conduct” if all class members’ claims are not resolved at the same time.

   IV.     THE FOURTH CIRCUIT’S DECISION CONFIRMS THAT CLASS
           CLAIMS AGAINST OPTUM SHOULD BE CERTIFIED.




                                        21
         Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 27 of 33
      Recycling arguments that have been squarely rejected by the Fourth Circuit

twice,11 Optum separately asks this Court to deny class certification of the claims

against it. See Supp. Opp’n at 24–30. Optum’s position is foreclosed by the analysis

of the Fourth Circuit, which concluded that common evidence demonstrated that

“Optum could be held liable as a party in interest involved in prohibited transactions

based on its apparent participation in and knowledge of Aetna’s administrative fee

billing model.” Peters, 2 F.4th at 240.

      As a preliminary matter, Optum attempts to wriggle out of class liability by

arguing that Plaintiff’s sole remaining claim against it is for disgorgement and that

she abandoned that claim. Neither contention is correct. First, multiple claims

against Optum remain in this litigation; Optum inexplicably ignores Plaintiff’s

claims for declaratory and injunctive relief. Second, as the Fourth Circuit pointed

out, Plaintiff has asserted her claims against Optum throughout this litigation, see

id., and has not abandoned those claims. Id. at 240 n.21 (citing AirFacts, Inc. v. de

Amezaga, 909 F.3d 84, 92–93 (4th Cir. 2018) (“If not express, abandonment must

be clear and unambiguous.”)).

      Indeed, Defendants do not (and could not plausibly) contest that Plaintiff may

bring a disgorgement claim against Optum, a party in interest. See id. at 229

11
  Optum raised nearly identical arguments in Defendants’ brief on appeal and their
failed petition for panel rehearing or rehearing en banc. See UCCA4 Appeal 19-
2085, Dkt. No. 43 at 51–56; UCCA4 Appeal 19-2085, Dkt. No. 94 at 19–26.


                                          22
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 28 of 33
(explaining that a nonfiduciary party in interest may incur ERISA liability where it

participated in a prohibited transaction and “had actual or constructive knowledge

of the circumstances that rendered the transaction unlawful”) (quoting Harris Tr. &

Sav. Bank v. Salomon Smith Barney Inc., 530 U.S. 238, 251 (2000)). All of Plaintiff’s

claims against Optum remain ripe for class certification.

      A. The Fourth Circuit Held That Optum Is A Party In Interest.

      The Fourth Circuit directly rejected Optum’s contention, see Supp. Opp’n at

25, that it was not a party in interest because Optum did not have pre-existing

relationships with the Aetna plans before entering into the Aetna-Optum contracts.

See Peters, 2 F.4th at 239 (“While the district court indicated that Optum could not

be a party in interest as a matter of law because Optum had no ‘pre-existing

relationship[s]’ with either the Plan or Aetna . . . this is incorrect.”) (emphasis

added). The Fourth Circuit held that Optum could be a party in interest “because it

‘provided services to the plan at the time [its administrative] fees were paid[.]” Id.

at 240 (quoting Sweda v. Univ. Pa., 923 F.3d 320, 339 (3d Cir. 2019)). This is

indisputably true for all class members’ plans.

      B. The Fourth Circuit Identified Class-Wide Evidence Demonstrating
         That Optum Knowingly Participated In Prohibited Transactions.

      Defendants also renew their erroneous contention that the Court will need to

undertake an individualized inquiry to determine whether Optum knew or should

have known that it was engaging in prohibited transactions with each class member’s


                                         23
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 29 of 33
plan. Supp. Opp’n at 26–28. Again, the Fourth Circuit wholly rejected this argument.

The Fourth Circuit held, based on class-wide evidence, that Optum had the requisite

knowledge to be liable as a party in interest to Plaintiff—a holding that necessarily

extends to every class member. Specifically, the Fourth Circuit cited to record

evidence of Optum employees raising concerns about Aetna’s “very problematic”

approach to member and plan responsibility in general. Peters, 2 F.4th at 240 n.20

(internal citation omitted). This evidence was not in regard to Plaintiff’s specific

benefit claims, but “the legitimacy of the administrative fee billing model.” Id. at

240. Relying on this class-wide evidence, the Fourth Circuit concluded that “a

reasonable factfinder could infer that Optum was fully aware of the questionable

nature” of Aetna’s questionable billing practices “and concurred in it.” Id. at 240. In

other words, Optum’s knowledge of the illegality of its scheme with Aetna is a class-

wide question that can be proven through common evidence. Optum offers no

evidence to the contrary.

      C. Class-Wide Proof Demonstrates Class Members’ Entitlement To
         Disgorgement From Optum.

      Optum further argues that Plaintiff is not entitled to disgorgement from Optum

because she has not met the equitable tracing requirement and the administrative

fees paid to Optum constituted “reasonable compensation.” See Supp. Opp’n at 28–

30. As explained above, see Section II.A, disgorgement does not require equitable

tracing. Further, Defendants’ reasonable compensation defense is both untimely and


                                          24
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 30 of 33
fails on the merits. Reasonable compensation under § 408(b)(2) is an affirmative

defense, which must be pleaded. See Allen v. GreatBanc Tr. Co., 835 F.3d 670, 676

(7th Cir. 2016) (section 408 exemptions are affirmative defenses). Defendants did

not do so, so that defense is waived. See Staudner v. Robinson Aviation, Inc., 910

F.3d 141, 148 (4th Cir. 2018) (affirmative defenses are waived if not pleaded).

      Even if Defendants had pleaded this affirmative defense, however, it would

be irrelevant to class certification or Optum’s ultimate ERISA liability. Plaintiff does

not challenge Optum’s right to be compensated by Aetna for the work it performed,

she challenges Defendants’ decision to force plans and class members to pay those

amounts. Defendants offer no evidence, much less individualized evidence,

indicating that it was ever reasonable for plans and members to bear Optum’s

administrative charges masquerading as medical expenses. Indeed, it is undisputed

that Aetna is paid by the plans for all of the administrative work it subcontracts to

Optum. See Dkt. No. 56 at ¶ 14. Put simply, common evidence defeats this unpled

defense. Moreover, regardless of what remedies this Court orders, Optum will

always be free to seek additional payments from Aetna if it desires, but this

consideration is entirely irrelevant to class certification.

                                   CONCLUSION

      Plaintiff’s Motion for Class Certification should be granted.




                                           25
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 31 of 33
Dated: October 15, 2021

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                                   26
     Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 32 of 33
                         CERTIFICATE OF SERVICE

       I hereby certify that, on the 15th day of October, 2021, I electronically filed
the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification via electronic means to the attorneys of record at that time.

                                              s/ Larry McDevitt
                                              Larry McDevitt




                                         27
       Case 1:15-cv-00109-MR Document 262 Filed 10/15/21 Page 33 of 33
